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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                       :
      v.                               :       CRIMINAL NO. 21-CR-117 (TFH)
                                       :
                                       :
ALEX HARKRIDER                         :


  DEFENDANT’S MOTION TO TEMPORARILY MODIFY BOND CONDITIONS TO
   ALLOW VOLUNTEER WORK AFTER TORNADO DEVASTATES KENTUCKY


      Mr. Alex Harkrider, through his attorney, Kira Anne West, respectfully

requests that this Honorable Court temporarily modify his conditions of release to

allow him to volunteer his time for two weeks for the citizens for Kentucky due to

the devastation caused by tornados. Specifically, Mr. Harkrider asks the Court to

allow him to volunteer with a church in Kentucky. Mr. Harkrider has contacted the

church and spoken to the leader of relief efforts. As the Court is aware, before his

arrest in this case, Mr. Harkrider was a volunteer with Rescue the Universe.

Rescue the Universe is a 501(c)(3) volunteer disaster relief non-profit organization.

The organization was founded in 2019 and had thousands of Facebook followers.

Mr. Harkrider will be supervised by a volunteer coordinator in Kentucky.

Argument




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      The current situation in Kentucky is that citizens are suffering the effects

from the and the ravages of the tornado that touched down on December 10-11,

2021. As previously presented by the defense, Mr. Harkrider has a long history of

volunteerism. This Court graciously allowed Mr. Harkrider to volunteer three

times during Hurricane Ida, which he did for nearly six weeks total. He saved

multiple individuals from flood waters. His relief efforts also included route

clearance and removing fallen trees from houses with chainsaws, delivering food,

fuel and generators to people who could not take care of themselves. He also set

up, organized and maintained a distribution center. His help was a huge success

and a wonderful gift to the citizens of Louisiana. It allowed Mr. Harkrider to do

something meaningful which was a gift to him. He would do similar work in

Kentucky. Mr. Harkrider is willing to give up his Christmas holiday with his

family to do this volunteering and will not leave until after the December 20, 2021

status hearing before this Court.

      Undersigned counsel contacted pretrial services on December 14, 2021, who

advised that Mr. Harkrider has been compliant and has no opposition to this

motion. Undersigned counsel has also contacted AUSA’s assigned to this case and

indicate that the United States defer to Pretrial Services. As presented in previous

motions to modify, Mr. Harkrider can continue to be supervised by telephone

contacts, email, text and any other condition this Court deems appropriate. The
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volunteer coordinator whom Mr. Harkrider would be supervised by will be happy

to confirm this volunteer request with Pretrial Services officer Holman here in

D.C. and anyone in Texas as well. Undersigned counsel has her personal phone

number in Kentucky and can forward them to Pretrial for supervision purposes.

Conclusion

       Mr. Harkrider can effectively be monitored by Pretrial Services for this

volunteer effort. There is no threat to the community posed by Mr. Harkrider

which is evidenced by his cooperation with law enforcement authorities and

perfect record of compliance since his release. The combination of conditions

currently in place would assure this Court of the safety of the community and his

presence at trial.

                                       Respectfully submitted,

                                       KIRA ANNE WEST



                                By:              /s/
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                         CERTIFICATE OF SERVICE

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      I hereby certify on the 15th day of December, 2021, a copy of same was

delivered to the parties of record, by email pursuant to the Covid standing order

and the rules of the Clerk of Court.

                                                  /S/

                                             Kira Anne West




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